              Case 2:10-cr-20024-PKH    Document 213     Filed 06/13/13    Page 1 of 2 PageID #: 1095



                                    IN THE UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF ARKANSAS
                                             FORT SMITH DIVISION

                  UNITED STATES OF AMERICA                                PLAINTIFF/RESPONDENT

                        v.                       No. 2:13CV2001
                                                 No. 2:10CR20024

                  FERNANDO SANCHEZ-GARCIA                                 DEFENDANT/PETITIONER


                                                       ORDER

                        Now on this 13th day of June 2013, there comes on for

                  consideration the report and recommendation filed herein on

                  March 21, 2013, by the Honorable James R. Marschewski, United

                  States Magistrate Judge for the Western District of Arkansas.

                  (Doc. 205).     Also before the Court are Petitioner’s Reply to the

                  Government’s      response     to    his   §    2255    motion    and   written

                  objections to the report and recommendation (doc. 212).

                        The report and recommendation was issued in this matter

                  prior to Petitioner’s Reply. According to Petitioner, he failed

                  to receive a copy of the Government’s Response to his § 2255

                  motion which did not become apparent until he received the

                  report and recommendation.           Petitioner moved the Court to stay

                  ruling     on   the   report   and   recommendation       until    he   had   an

                  opportunity to file a reply brief, as well as his objections to

                  the report and recommendation.                 The Court agreed, and this

                  matter is ready for decision.

                        The court has reviewed this case de novo and, being well

                  and sufficiently advised, finds as follows:                   The report and




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              Case 2:10-cr-20024-PKH    Document 213   Filed 06/13/13   Page 2 of 2 PageID #: 1096



                  recommendation is proper and should be and hereby is adopted in

                  its entirety.        Accordingly, the 28 U.S.C. § 2255 motion (Doc.

                  20) is DENIED and DISMISSED WITH PREJUDICE.

                        IT IS SO ORDERED.



                                                       /s/ Robert T. Dawson
                                                       Honorable Robert T. Dawson
                                                       United States District Judge




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